
*1277OPINION.
Steekhagen :
The losses sustained by petitioner in 1921 in respect of the Steel Co. and the Wyoming oil association were not “ losses resulting from the operation of a trade or business regularly carried on by the taxpayer ” and are not such as may, under section 204, Revenue Act of 1921, be carried into 1922. Fridolin Pabst, 6 B. T. A. 843; affd., 36 Fed. (2d) 614; Louis M. Goldberg, 9 B. T. A. 1355; affd., 36 Fed. (2d) 551; Harry J. Gutman, 7 B. T. A. 500; W. C. Harris, 8 B. T. A. 1234; J. L. Washburn, 16 B. T. A. 1091, now on review by Circuit Court of Appeals, Eighth Circuit.
Decisions of the courts and of the Board in which it was merely held that the individual taxpayer was engaged in business or was in fact, in his own behalf, and not merely by reason of his investment in a corporation or association, regularly and actively carrying on the business in which he was engaged, are not controlling authorities for the application of the net loss provision. Such are Bryce v. Keith, 257 Fed. 133; Mente v. Eisner, 266 Fed. 161; Oscar K. Eysenbach, 10 B. T. A. 716; cited by petitioner. Nor are decisions determining the right of a taxpayer to deduct losses in the year sustained which do not involve the question whether as net losses they may be carried over. Such are A. L. Huey, 4 B. T. A. 370; A. H. Fell, 7 B. T. A. 263; L. C. Heydrich, 7 B. T. A. 950; J. H. G. Wolf, 8 B. T. A. 1121; C. H. Goodwin, 9 B. T. A. 1209; cited by petitioner.

Judgment will be entered for the respondent.

